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                                                               Monday, 15 January, 2018 02:41:37 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                        MOTION TO SUPPRESS STATEMENTS

       Now comes the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and pursuant to Rule 12(b)(3)(C), Fed.R.Crim.P., moves this Court for the

entry of an Order suppressing all statements, whether written or oral, and whether

inculpatory or exculpatory, which are alleged to have been made by the Defendant to

officers and agents of the Federal Bureau of Investigation, the University of Illinois

Police Department, and to an individual identified in discovery as an FBI “Confidential

Human Source” and referred to herein as “TLB,” on or about June 14-15, 2017, June 17,

2017, June 23, 2017, and June 29, 2017, and in support thereof states as follows:

                                   Factual Background

       1.     On June 14, 2017, at approximately 11:45 p.m., multiple agents of the

Federal Bureau of Investigation proceeded to the Defendant’s residence located at 2503

Springfield Avenue, Apartment B2 in Champaign, Illinois, to execute a federal search

warrant for a 2008 Saturn Astra automobile that was registered to the Defendant and

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the Defendant’s wife. Once at the Defendant’s residence, the agents presented the

Defendant with a copy of the warrant and asked if he would be willing to answer some

questions at the FBI office, to which Defendant stated, “I should probably ask for a

lawyer in situations like this.” The agents then took the Defendant into custody and

transported him to the Champaign Resident Agency Office located at 2117 West Park

Court in Champaign, Illinois, for questioning.

       2.     Upon arriving at the Champaign Resident Agency Office shortly after

12:00 a.m. on June 15, 2017, FBI Special Agent Anthony Manganaro and University of

Illinois Police Department Detective Eric Stiverson took Defendant to a small, closed,

and windowless interrogation room where they advised the Defendant of his rights and

questioned the Defendant at length concerning the disappearance of an Asian female

graduate student at the University of Illinois at Champaign-Urbana that was reported

to law enforcement authorities on June 9, 2017. As a result of the agents’ interrogation of

the Defendant, the Defendant is alleged to have made various statements which the

Government will seek to use as evidence against him.

       3.     During the course of the custodial interrogation session, at approximately

1:26 a.m., however, Defendant again specifically and unequivocally invoked his rights

under Miranda v. Arizona, 384 U.S. 436 (1966), by advising Agent Manganaro and

Detective Stiverson that “I really don’t want to talk no more without a lawyer.”

       4.     In response thereto, Agent Manganaro and Detective Stiverson terminated

their interrogation of the Defendant at approximately 1:30 a.m., and left Defendant

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alone in the room. Agent Manganaro telephoned an Assistant United States Attorney to

report the results of the interrogation, and the Assistant United States Attorney advised

Agent Manganaro to hold Defendant in custody for review of violations of Title 18

U.S.C. §1001, and to transport the Defendant to the Ford County Detention Facility in

Paxton, Illinois, pending that review.

       5.     While Defendant was waiting in the interrogation room at the FBI Office

to be transported to the Ford County Detention Facility, FBI Special Agent Harvey

Pettry entered the interview room “to keep [the defendant] company” while the

transport was being arranged. At the time he entered the interrogation room, Agent

Pettry knew that the Defendant previously had invoked his Miranda rights during his

interrogation by Agent Manganaro and Detective Stiverson. Notwithstanding that fact,

Agent Pettry initiated a second round of interrogating the Defendant without counsel

present, and as a result thereof, the Defendant is alleged to have made various oral

statements to Agent Pettry which the Government will seek to use as evidence against

him.

       6.     On June 15, 2017, at 2:36 a.m., the Defendant departed the FBI Resident

Agency Office in Champaign in the custody of three law enforcement officers and

arrived at the Ford County Detention Facility in Paxton, Illinois, at 3:04 a.m., where the

Defendant was booked into the jail.

       7.     On June 16, 2017, at or shortly after midnight, the Defendant was released

from custody at the Ford County Detention Facility in Paxton, Illinois, and was driven

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directly to the Super 8 Hotel in Rantoul, Illinois, by two or more federal agents, where

he arrived at approximately 1:00 a.m. on June 16, 2017, and checked into the hotel for

the night.

       8.    Later, on June 16, 2017, FBI Special Agents Andrew Huckstadt and Brian

Schenkelberg met with a female associate of the Defendant (who is hereinafter referred

to “TLB”) at the FBI Champaign Resident Agency. As a result of that meeting, “TLB”

agreed to serve as a documented “confidential human source” for the FBI and executed

a Form FD-472 wherein she agreed to wear or utilize a body recorder, microphone,

transmitter, or other recording device “for the purpose of monitoring, viewing, listening

to, and/or recording any activity I may have with Brendt A. Christensen....which I may

have on or about 6/16/2017 and continuing thereafter until such time as either I revoke

my permission or the FBI terminates the investigation.”

       9.    On June 17, 2017, at 1:52 p.m., FBI Special Agents Michael Carter and

Brian Schenkelberg initiated contact with the Defendant for an interview at the FBI

Resident Agency Office in Champaign, Illinois, notwithstanding the fact that said

agents knew, or should have known, that Defendant previously had twice invoked his

Miranda rights when confronted by the agents at his residence on June 14, 2017, and

during his interrogation by Agent Manganaro and Detective Stiverson on June 15, 2017.

As a result of that interview, the Defendant was questioned at length by Agents Carter

and Schenkelberg without counsel present and is alleged to have various statements

which the Government will seek to use as evidence against him.

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       10.   On June 23, 2017, pursuant to her role as an FBI Confidential Human

Source, and acting under the supervision, direction and control of the FBI agents,

“TLB” initiated a series of telephone text messages with the Defendant and deliberately

engaged in surreptitious questioning of the Defendant for the purpose of eliciting

incriminating statements from him. Again, “TLB” was directed and authorized to

engage in such investigative conduct by the very same FBI agents who knew, or should

have known, that Defendant had twice invoked his Miranda rights when confronted by

the agents at his residence on June 14, 2017, and during his interrogation by Agent

Manganaro and Detective Stiverson on June 15, 2017. As a result of “TLB’s” text

messages with the Defendant on June 23, 2017, the Defendant is alleged to have made

various written statements which the Government will seek to use as evidence against

him.

       11.   On June 29, 2017, from approximately 6:30 p.m. to 8:45 p.m., “TLB,”

pursuant to her role as an FBI Confidential Human Source, and wearing a recording

device, and acting under the supervision, direction and control of the FBI agents,

initiated a number of conversations and communications with the Defendant, and

thereby deliberately engaged in surreptitious questioning and recording of the

Defendant for the purpose of eliciting incriminating statements from him. Again, “TLB”

was directed and authorized to engage in such investigative conduct by the very same

FBI agents who knew, or should have known, that Defendant had twice previously

invoked his Miranda rights during when confronted by the agents at his residence on

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June 14, 2017, and during his interrogation by Agent Manganaro and Detective

Stiverson on June 15, 2017. As a result of “TLB’s” conversations and communications

with the Defendant on June 29, 2017, the Defendant is alleged to have made various

statements which the Government will seek to use as evidence against him.

                                         Argument

       12.    All of the Defendant's statements which are alleged to have been made by

the Defendant to officers and agents of the Federal Bureau of Investigation, the

University of Illinois Police Department, and to “TLB,” the FBI’s Confidential Human

Source, on June 14-15, 2017, June 17, 2017, June 23, 2017, and June 29, 2017, were

involuntary and were obtained in violation of the Defendant's rights secured under the

Fourth, Fifth, and Sixth Amendment to the United States Constitution. Miranda v.

Arizona, 384 U.S. 436 (1966); United States v. Dickerson, 520 U.S. 428 (2000).

       13.    In Miranda v. Arizona, 384 U.S. 436, 469-73, 86 S.Ct. 1602, 1625-27, 16

L.Ed.2d 694 (1966), the Supreme Court held that before the police can interrogate a

suspect who is in police custody, the officers must first advise the suspect of his right to

consult with an attorney and to have counsel present during the interrogation. Under

Miranda and its progeny, if the suspect invokes his right to have counsel present with

him during the interrogation, the suspect is not subject to further interrogation until

counsel is present or until the suspect himself initiates further discussions. Edwards v.

Arizona, 451 U.S. 477, 484-85, 101 S.Ct. 1880, 1884-85, 68 L.Ed.2d 378 (1981); Arizona v.

Roberson, 486 U.S. 675, 682, 108 S.Ct. 2093, 2098, 100 L.Ed.2d 704 (1988); McNeil v.

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Wisconsin, 501 U.S. 171, 176-77, 111 S.Ct. 2204, 2207-09, 115 L.Ed.2d 158(1991); United

States v. McKinley, 84 F.3d 904, 908 (7th Cir. 1996)(“If a suspect invokes his right to

counsel as to one offense, he may not be reapproached and interrogated about that or a

separate offense unless counsel is present”).

       14.    In Edwards v. Arizona, supra, the Supreme Court established a presumption

that once a suspect invokes his right to counsel during a custodial interrogation, any

subsequent Miranda waiver is involuntary until counsel is present or the suspect himself

initiates communication, exchanges, or conversation. Arizona v. Roberson, 486 U.S. 675,

680–81, 108 S.Ct. 2093, 100 L.Ed.2d 704 (1988). The Edwards presumption “is not offense

specific.” McNeil v. Wisconsin, 501 U.S. 171, 177, 111 S.Ct. 2204, 115 L.Ed.2d 158 (1991)

(citing Roberson, 486 U.S. at 682–83, 108 S.Ct. 2093). Accordingly, “[o]nce a suspect

invokes the Miranda right to counsel for interrogation regarding one offense, he may not

be reapproached regarding any offense unless counsel is present.” Id.

       15.    Even if the suspect is alleged to have reinitiated a conversation with the

police, the burden “remains upon the prosecution to show that subsequent events

indicated a waiver of the Fifth Amendment right to have counsel present during the

interrogation.” United States v. Huerta, 239 F.3d 865, 873 (7th Cir. 2001); citing Oregon v.

Bradshaw, 462 U.S. 1039, 1044, 103 S.Ct. 2830, 77 L.Ed.2d 405 (1983). To establish a valid

waiver, the government must show that the waiver was knowing, intelligent, and

voluntary under the “high standar[d] of proof for the waiver of constitutional rights [set



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forth in] Johnson v. Zerbst, 304 U.S. 458, 58 S.Ct. 1019, 82 L.Ed. 1461 (1938).” Miranda, 384

U.S. at 444, 86 S.Ct. at 1602.

       16.    In Maryland v. Shatzer, 559 U.S. 98, 130 S.Ct. 1213, 175 L.Ed.2d 1045 (2010),

the Court delimited the scope of the Edwards presumption by holding that its

protections to the suspect cannot extend into perpetuity. In Shatzer, the Court

considered whether, and under what circumstances, a break in custody terminates

Edwards' protections. The Court held that, when a suspect invokes the right to counsel

during custodial interrogation, but is subsequently released from Miranda custody for a

period of 14 days or more, the Edwards presumption dissolves, and the police may

reinitiate question so long as the suspect gives a valid waiver of his Fifth Amendment

rights. Shatzer, 559 U.S. at 109–10, 130 S.Ct. at 1213.

       17.    In this case, Defendant clearly and unequivocally invoked his right to

counsel under Miranda two times: first, on June 14, 2017, at 11:45 p.m., when confronted

by the FBI agents at this residence with the warrant to search his vehicle, by stating, “I

should probably ask for a lawyer in situations like this;” and second, on June 15, 2015,

approximately 1:26 a.m., at the Champaign Resident Agency Office by advising Agent

Manganaro and Detective Stiverson that, “I really don’t want to talk no more without a

lawyer.”

       18.    Notwithstanding his invocation of his Miranda rights, Defendant was

subject to police-initiated interrogation in the absence of counsel on June 14-15, 2017,

and June 17, 2017, and police-initiated, surreptitious interrogation in the absence of

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counsel by FBI confidential human source “TLB” on June 23, 2017, and June 29, 2017,

within the 14 day window of his release from Miranda custody from the Ford County

Jail on June 16, 2017. Under Edwards v. Arizona, supra, and its progeny, all of the

statements which the Defendant is alleged to have made on those four occasions should

be suppressed as having been obtained by government agents in violation of the

Defendant’s rights secured under the Fifth and Sixth Amendments to the United States

Constitution.

       WHEREFORE, Defendant requests the entry of an Order suppressing all

statements, whether written or oral, and whether inculpatory or exculpatory, which are

alleged to have been made by the Defendant to officers and agents of the Federal

Bureau of Investigation, the University of Illinois Police Department, and to an

individual identified in discovery as an FBI “Confidential Human Source” and referred

to herein as “TLB,” on or about June 14-15, 2017, June 17, 2017, June 23, 2017, and June

29, 2017.




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                                Respectfully submitted,

                                BRENDT A. CHRISTENSEN, Defendant

By:   /s/Elisabeth R. Pollock                  /s/ George Taseff
      Assistant Federal Public Defender        Assistant Federal Public Defender
      300 West Main Street                     401 Main Street, Suite 1500
      Urbana, IL 61801                         Peoria, IL 61602
      Phone: 217-373-0666                      Phone: 309-671-7891
      FAX: 217-373-0667                        Fax: 309-671-7898
      Email: Elisabeth_Pollock@fd.org          Email: George_Taseff@fd.org


      /s/ Robert Tucker
      Robert L. Tucker, Esq.
      7114 Washington Ave
      St. Louis, MO 63130
      Phone: 703-527-1622
      Email: roberttuckerlaw@gmail.com




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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




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